









Dismissed and Memorandum Opinion filed February 17, 2005









Dismissed and Memorandum Opinion filed February 17,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00134-CR

____________

&nbsp;

DANIEL AGUILAR,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF
TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
209th District Court

Harris County, Texas

Trial Court Cause No. 1004878

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

After a plea of guilty, appellant was convicted of the
offense of kidnapping and sentenced on December 1, 2004, to ten years= imprisonment in the Texas Department
of Criminal Justice, Institutional Division.&nbsp;
No timely motion for new trial was filed.[1]&nbsp; Appellant=s notice of appeal was not filed
until January 31, 2005.








A defendant=s notice of appeal must be filed within thirty days after
sentence is imposed when the defendant has not filed a timely motion for new
trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp; A notice of appeal which complies with the
requirements of Rule 26 is essential to vest the court of appeals with
jurisdiction.&nbsp; Slaton v. State,
981 S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp;
If an appeal is not timely perfected, a court of appeals does not obtain
jurisdiction to address the merits of the appeal.&nbsp; Under those circumstances it can take no
action other than to dismiss the appeal.&nbsp;
Id.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Memorandum
Opinion filed February 17, 2005.

Panel consists of Justices Yates,
Anderson, and Hudson.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;











[1]&nbsp; Appellant
filed a Motion to Withdraw Plea of Guilty on January 31, 2005.







